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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,                          )
                                                    )
                Plaintiff,                          )    CRIMINAL NO. 18-CR-2753 KG
                                                    )
        vs.                                         )
                                                    )
 EDWARD FLEMING,                                    )
                                                    )
                Defendant.                          )

                    UNITED STATES’ RESPONSE TO DEFENDANT’S
              OBJECTIONS TO THE PRE-SENTENCE INVESTIGATION REPORT

       The United States hereby responds to the defendant’s Objections to the Pre-sentence

Investigation Report, filed April 17, 2019. Doc. 42.

       On November 26, 2018, the defendant pled guilty without a plea agreement to Counts 7

and 8 of the indictment charging felon in possession of a firearm and ammunition, in violation of

18 U.S.C. § 922(g), and possession of a stolen firearm, in violation of 18 USC § 922(j). Doc.

34. On March 22, 2019, the Presentence Investigation Report was filed, in which the

defendant’s guideline range was calculated to be 63 to 78 months, based on a total offense level

of 19 and criminal history category VI. Doc. 37.

       The defendant objects to the application of the four level enhancement for the use or

possession of a firearm in connection with another felony offense, pursuant to U.S.S.G. §

2K2.1(b)(6)(B). Doc. 42 at 1. The defendant makes two arguments. First, the defendant argues

that the evidence does not establish that the defendant committed another felony offense. Id. at

1-2. Second, the defendant argues that the firearms did not facilitate another felony offense. Id.

at 2-3. Neither argument has merit.
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       The PSR notes that the defendant said that he obtained one of the firearms when he gave

another person methamphetamine and $200. Doc. 37 at ¶ 14. Trading drugs for a gun is a

crime. See United States v. Luke-Sanchez, 483 F.3d 703, 706 (10th Cir. 2007) (trading drugs for

guns sufficient to meet in furtherance prong of 18 U.S.C. § 924(c)). Moreover, it is a crime

facilitated by the firearm. As a result, the enhancement applies.

       In addition, the PSR notes that a stolen firearm, a loaded syringe, drug paraphernalia, 11

counterfeit $100 bills, and a digital scale were found in the defendant’s RV. Doc. 37 at ¶ 13.

Defendant alleges that the currency was not counterfeit, but rather was clearly fake. Doc. 42 at

2. Attached hereto as Exhibit 1 is a photograph of the counterfeit currency, reflecting that it was

not clearly fake. As a result, the enhancement also was proper based on the drug related items

and counterfeit currency located in the RV. 1

       Based on the foregoing argument and authority, the United States respectfully submits

that the Court should deny the defendant’s objection and find that the properly calculated

guideline range is 63 to 78 months of imprisonment. The United States requests that the Court

sentence the defendant to the low end of the guideline range, 63 months imprisonment.

                                                     Respectfully submitted,

                                                     JOHN C. ANDERSON
                                                     United States Attorney

                                                     Electronically Filed 4/23/2019
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1
  The defendant argues that the suspected methamphetamine in his pocket does not support the
enhancement because there is no lab report. Based on the information available at the time of
this filing, the United States agrees that the substance in the defendant’s pocket does not support
the enhancement.
                                                 2
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I HEREBY CERTIFY that I electronically
filed the foregoing with the Clerk of the
Court using the CM/ECF system which
will send electronic notification to defense
counsel of record.


Electronically Filed 4/23/2019
RICHARD C. WILLIAMS
Assistant U.S. Attorney




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